 Case 2:23-cv-00127-SK Document 22 Filed 06/07/24 Page 1 of 1 Page ID #:1633



                                                                          JS-6




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA



LILLIAN D.,                           Case No. 2:23-cv-00127-SK
                  Plaintiff,          JUDGMENT
             v.
MARTIN O’MALLEY,
Commissioner of Social Security,
                  Defendant.



     It is the judgment of this Court that the decision of the Administrative
Law Judge is AFFIRMED. Judgment is hereby entered in favor of
Defendant.


Date: June 7, 2024                 ___________________________
                                   STEVE KIM
                                   United States Magistrate Judge
